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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 NEWNAN DIVISION

 IN RE:                                      *
          LONA DEMETRIA                      *        CASE NUMBER:        20-11214-pmb
          CAROLYN                            *
          BIBBS-WALKER,                      *
                                             *
                       Debtor.               *        CHAPTER:            7
                                             *

                                MOTION FOR LEAVE OF ABSENCE

          COMES NOW SIMS W. GORDON, JR., counsel for LONA DEMETRA CAROLYN
 BIBBS-WALKER, Debtors in the above-styled matter, and pursuant to BLR 9010-5, respectfully
 files this Motion for Leave of Absence and shows the Court as follows:

                                                 1.

          Counsel requests that no matters be placed on the calendar for the following time
 periods: 9/22/2022 through 9/23/2022 for Personal Time; 10/7/2022 for Personal Time;
 10/18/2022 through 10/24/2022 for Travel out of State; 10/27/2022 through 10/28/2022 for Travel
 out of State; 11/9/2022 through 11/11/2022 for Travel out of State; 11/21/2022 through 12/2/2022
 for Travel out of the Country; 12/23/2022 through 1/3/2023 for Christmas and New Years Holiday;
 2/1/2023 through 2/13/2023 for Travel out of State; 4/24/2023 through 4/28/2023 for Travel out
 of State; 6/19/2023 through 6/23/2023 for Family Vacation; and 6/26/2023 through 6/30/2023 for
 Travel out of the Country.




                                                 2.

          Counsel has reviewed the docket and no matters have been calendar during the
 aforementioned time periods.
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                                                 3.
        Unless opposing counsel or an interested party files a written objection within ten
 (10) days with the Clerk of Court, such leave will be granted by entry of an Order. If an
 objection is filed, the court, upon request of any party will conduct a hearing to determine
 whether the court will, by order, grant the requested leave of absence.

        WHEREFORE, Counsel for Debtor(s) requests that the leave of absence be granted.




        This the 19th day September, 2022.




                                                      Respectfully submitted,

                                                      THE GORDON LAW FIRM, PC


                                                      /s/ Sims W. Gordon, Jr.
                                                      By: Sims W. Gordon, Jr.
                                                      Georgia State Bar No.: 302483
                                                      Attorney for Debtor




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                                  CERTIFICATE OF SERVICE

        I, Sims W. Gordon, Jr., of The Gordon Law Firm, PC, 400 Galleria Parkway, SE, Suite
 1500, Atlanta, Georgia 30339, certify:


        That I am and was at all times hereinafter mentioned more than 18 years of age;


        That I have this 19th day of September, 2022, served a copy of the foregoing Motion for
 Leave of Absence upon Debtor, Office of the United States Trustee, Creditors, and all interested
 parties via U.S. Mail or via the Court’s electronic filing system.




 I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
 CORRECT.


 Executed on: 9/19/2022                        By: /s/ Sims W. Gordon, Jr.
